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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA                        :    CRIMINAL NO.
                                                 :
           v.                                    :    MAGISTRATE NO. 22-MJ-00094
                                                 :
 JUSTIN MICHAEL SMITH,                           :    VIOLATIONS:
                                                 :    18 U.S.C. § 1752(a)(1)
                          Defendant.             :    (Entering and Remaining in a Restricted
                                                 :    Building or Grounds)
                                                 :    18 U.S.C. § 1752(a)(2)
                                                 :    (Disorderly and Disruptive Conduct in a
                                                 :    Restricted Building or Grounds)
                                                 :    40 U.S.C. § 5104(e)(2)(D)
                                                 :    (Disorderly Conduct in a Capitol Building
                                                 :    or Grounds)
                                                 :    40 U.S.C. § 5104(e)(2)(G)
                                                 :    (Parading, Demonstrating, or Picketing in
                                                 :    a Capitol Building)

                                    INFORMATION

       The United States Attorney charges that at all relevant times:

                                         COUNT ONE

       On or about January 6, 2021, within the District of Columbia, JUSTIN MICHAEL

SMITH did knowingly enter and remain in a restricted building and grounds, that is, any posted,

cordoned-off, and otherwise restricted area within the United States Capitol and its grounds, where

the Vice President was and would be temporarily visiting, without lawful authority to do so.

       (Entering and Remaining in a Restricted Building or Grounds, in violation of Title 18,
       United States Code, Section 1752(a)(1))
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                                         COUNT TWO

       On or about January 6, 2021, within the District of Columbia, JUSTIN MICHAEL

SMITH did knowingly, and with intent to impede and disrupt the orderly conduct of Government

business and official functions, engage in disorderly and disruptive conduct in and within such

proximity to, a restricted building and grounds, that is, any posted, cordoned-off, and otherwise

restricted area within the United States Capitol and its grounds, where the Vice President was and

would be temporarily visiting, when and so that such conduct did in fact impede and disrupt the

orderly conduct of Government business and official functions

       (Disorderly and Disruptive Conduct in a Restricted Building or Grounds, in violation
       of Title 18, United States Code, Section 1752(a)(2))


                                       COUNT THREE

       On or about January 6, 2021, within the District of Columbia, JUSTIN MICHAEL

SMITH willfully and knowingly engaged in disorderly and disruptive conduct within the United

States Capitol Grounds and in any of the Capitol Buildings with the intent to impede, disrupt, and

disturb the orderly conduct of a session of Congress and either House of Congress, and the orderly

conduct in that building of a hearing before or any deliberation of, a committee of Congress or

either House of Congress.

       (Disorderly Conduct in a Capitol Building or Grounds, in violation of Title 40, United
       States Code, Section 5104(e)(2)(D))




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                                      COUNT FOUR

       On or about January 6, 2021, within the District of Columbia, JUSTIN MICHAEL

SMITH willfully and knowingly paraded, demonstrated, and picketed in any United States Capitol

Building.

       (Parading, Demonstrating, or Picketing in a Capitol Building, in violation of Title 40,
       United States Code, Section 5104(e)(2)(G))

                                                  Respectfully submitted,

                                                  MATTHEW M. GRAVES
                                                  United States Attorney
                                                  D.C. Bar No. 481052


                                           By:    /s/ Christopher M. Cook
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